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 1                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 2                                      AT SEATTLE
 3
   UNITED STATES OF AMERICA, )
 4                               )
                Plaintiff,       )                CASE NO.       CR07-264-RSM
 5                               )
           v.                    )
 6                               )
   BIRDIE E. BELLINGER,          )                DETENTION ORDER
 7                               )
                Defendant.       )
 8                               )
   _____________________________ )
 9
     Offenses charged:
10
               Bank Fraud, in violation of Title 18, U.S.C., Sections 1344 and 2;
11
               Social Security Fraud, in violation of Title 42, U.S.C., section 408(a)(7)(B).
12
     Date of Detention Hearing: July 24, 2007
13
               The Court, having conducted a contested detention hearing pursuant to Title 18
14
     U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
15
     hereafter set forth, finds that no condition or combination of conditions which the defendant
16
     can meet will reasonably assure the appearance of the defendant as required and the safety
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     of any other person and the community. The Government was represented by Vincent
18
     Lombardi. The defendant was represented by Juanita Holmes.
19
          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
20
               (1) The defendant has no ties to the Western District of Washington and has
21
                    family ties in California. Her local residence is unstable.
22
               (2) Defendant is viewed as a risk of danger due to her criminal history dating
23
                    back to 1979.
24
               (3) Defendant has mental health and subsequent substance abuse issues.
25
     Thus, there is no condition or combination of conditions that would reasonably assure
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     DETENTION ORDER
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 1 future court appearances.
 2           It is therefore ORDERED:
 3           (l) Defendant shall be detained pending trial and committed to the custody of
 4               the Attorney General for confinement in a correctional facility separate, to
 5               the extent practicable, from persons awaiting or serving sentences, or being
 6               held in custody pending appeal;
 7           (2) Defendant shall be afforded reasonable opportunity for private
 8               consultation with counsel;
 9           (3) On order of a court of the United States or on request of an attorney for the
10               Government, the person in charge of the correctional facility in which
11               Defendant is confined shall deliver the defendant to a United States
12               Marshal for the purpose of an appearance in connection with a court
13               proceeding; and
14           (4) The clerk shall direct copies of this order to counsel for the United States,
15               to counsel for the defendant, to the United States Marshal, and to the
16               United States Pretrial Services Officer.
17           DATED this 25th day of July, 2007.



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20                                                     MONICA J. BENTON
21                                                     United States Magistrate Judge

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     DETENTION ORDER
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